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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                Eastern Division

Donald Ragland
                               Plaintiff,
v.                                                    Case No.: 1:16−cv−02803
                                                      Honorable William T. Hart
Thomas Dart, et al.
                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, November 3, 2016:


        MINUTE entry before the Honorable William T. Hart:Motion hearing set for
11/3/2016 is stricken. Defendants' motion to stay briefing schedule on plaintiffs motion
for summary judgment pending resolution of settlement [23] is granted. Status hearing set
for 11/17/2016 is reset to 12/1/2016 at 02:00 PM.Mailed notice(clw, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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